                       Case 4:11-cr-00156-JM Document 730 Filed 11/05/14 Page 1 of 1

         Order Regarding Motion for Sentence Reduction Under 18 U.S.C. § 3582(c)(2)



                                   UNITED STATES DISTRICT COURT
                                                       Eastern District of Arkansas
                                                                                                             ...JiM~~
                   UNITED STATES OF AMERICA
                                       v.
                                                                                      Case
                                                                                                    4:11CR00156-16-JLH
                          Angelique N. Kennedy                                        Number:
                                                                                      USM           26777-009

Date of Original Judgment:                          October 30, 2012

Date of Previous Amended Judgment: N/A                                                N/A
(Use Date ofLast Amended Judgment if Any)                                             Defendant's Attorney



       ORDER REGARDING MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(C)(2)

      Upon motion of        D the defendant     D the Director of the Bureau of Prisons      X the court
      under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline
      sentencing range that has subsequently been lowered and made retroactive by the United States Sentencing
      Commission pursuant to 28 U.S.C. § 994(u), and having considered such motion, and taking into account
      the policy statement set forth at USSG § 1Bl.10 and the sentencing factors set forth in 18 U.S.C. § 3553(a),
      to the extent that they are applicable,

      IT IS ORDERED that the motion is:
             0 DENIED.
             X GRANTED and the defendant's previously imposed sentence of imprisonment of
                   46 months is reduced to 37 months.




Except as provided above, all provisions of the judgment dated Octobe1 30, 2012 will remain in effect.

IT IS SO ORDERED.

Order Date:    /Av.-),1 urf'
Effective Date: November l, 2015
                (If different from order date)




                                                               Page 1 of 2
